
Per Curiam.
“It appearing that in this Case the scire facias on the recognizance abated as to Helm, one of the conuzors, by the return, and that, of the other two conu-zors, Haines was the survivor, it is the unanimous opinion of the Court, that a sci. fa. to revive against the personal representatives of the said Haines, will lie, though not against his heirs ; and that original process will lie against the heirs of the said Haines, or against the personal representatives, or heirs of Patton, the other deceased conuzor.”
Note (in edition of 1853). — By the Act concerning' partitions, joint rights, and obligations, passed in 1786, § 3, it is enacted, that the “representative of one jointly bound with another for the payment of a debt, or for performance, or forbearance of any act, or for any other thing, and dying in the lifetime of the latter, may be charged by virtue of such obligation, in the same manner as such representatives might have been charged if the obligors had been bound severally, as well as jointly.” 1 Rev. Code of 1819, ch. 98, § 3. A recognizance is an obligation of record, and therefore this Raw extends to joint recognizances, as well as to joint bonds.
